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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


Oneida Consumer, LLC, et al.,
                                                                 Case No: 2:20-cv-2043
                Plaintiffs,
                                                                 Judge Graham
        v.
                                                                 Chief Magistrate Judge Deavers
Elyse Fox,

                Defendant.
                                                 Order

        For the reasons stated by the Court in its July 31, 2020 telephone status conference, the Court
will exercise its authority under Fed. R. Civ. P. 42(b) to bifurcate the declaratory and injunctive relief
sought in this case from the monetary relief sought in Paragraphs J–L of Plaintiffs’ Complaint (Compl.,
ECF No. 1 at 21).
        The Court will also adopt the following joint proposed discovery schedule:
        Friday, August 21, 2020. Deadline for document requests and interrogatories to be issued by
each party.
        Monday, September 21, 2020.           Deadline for responses to document requests and
interrogatories, and deadline for each party to disclose identities of individuals likely to have
discoverable information. Parties shall also exchange witness lists on this day. The witness list need
not identify rebuttal witnesses called solely to rebut the testimony of other witnesses.
        Monday, October 5, 2020. Parties may begin depositions and possible site inspections.
        Friday, October 23, 2020. Discovery closes.
        The Court will also hold another telephone status conference on Friday, September 25, 2020
at 9:30 AM.
        Following the close of discovery, the Court will hold a pre-hearing status conference on Friday,
October 30, 2020 at 10:30 AM.
        The hearing on declaratory and injunctive relief will be held on Monday, November 16, 2020
at 9:00 AM.




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      IT IS SO ORDERED.

                                                 s/ James L. Graham
                                                 JAMES L. GRAHAM
                                                 United States District Judge
DATE: July 31, 2020




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